      ~ 3:24-cv-00161-MMD-CSD
     Case                                 Document 24         Filed 07/17/24    Page 1 of 2



 1    Ronald J. Dreher, Esq.
      Nevada Bar No. 15726
 2    P.O. Box 6494
      Reno, NV 89513
 3    775-846-9804
 4    ron@dreherlaw.net
      Attorney for Plaintiff
 5
                               IN THE UNITED STATES DISTRICT COURT
 6
                                IN AND FOR THE DISTRICT OF NEVADA
 7

 8    KIMBERLEY FRANKEL,

 9                          Plaintiff,                       Case No.: 3:24-cv-00161-MMD-CSD
10
       vs.                                                   ORDER GRANTING STIPULATION
11                                                           FOR ORDER FOR DISMISSAL OF
                                                             ALL CLAIMS, WITH PREJUDICE
12
      WASHOE COUNTY; and its division
13    WASHOE COUNTY SHERIFF’S OFFICE;
      DARIN BALAAM, individually and in his
14
      capacity as Sheriff of Washoe County;
15    CATHY HILL, individually and in her
      capacity as an employee of Washoe County;
16    GREGORY HERRERA (Ret.) individually
      and in his capacity as an employee of Washoe
17    County; and DOES 1 through 20,
18                          Defendants.
19
20    ________________________________________/

21

22           Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff Kimberley Frankel and
23    Defendants Washoe County and its division the Washoe County Sheriff’s Office, Darin Balaam,
24    individually and in his capacity as Sheriff of Washoe County; Cathy Hill, individually and in her
25    capacity as an employee of Washoe County; Gregory Herrera (Ret.) individually and in his capacity
26    as an employee of Washoe County, by and through their respective undersigned counsel, hereby
27    stipulate and agree that this action and all claims against Defendants Washoe County and its division
28    the Washoe County Sheriff’s Office, Darin Balaam, Cathy Hill, and Gregory Herrera, contained in

                                                       -1-
     Case 3:24-cv-00161-MMD-CSD             Document 24          Filed 07/17/24   Page 2 of 2




 1     Plaintiff’s Third Amended Complaint and Jury Demand (ECF No. 9) be dismissed, with prejudice,

 2     both sides to bear their own attorney’s fees and costs.
 3             DATED this 16th day of July, 2024.
 4

 5      By:     /s/ Ronald J. Dreher                    By:    /s/ Michael W. Large
              Ronald J. Dreher, Esq.                    Christopher J. Hicks
 6            P.O. Box 6494                             District Attorney
              Reno, NV 89513                            Michael W. Large
 7            (775) 846-9804                            Deputy District Attorney
              ron@dreherlaw.net                         One South Sierra Street
 8
              Attorney for Plaintiff                    Reno, NV 89501
 9                                                      mlarge@da.washoecounty.gov
                                                        (775) 337-5700
10                                                      Attorney for Defendants
11

12                                                   ORDER
13             IT IS SO ORDERED.

14             DATED this 17th day of July, 2024.

15
                                                     _________________________________________
16
                                                     UNITED STATES DISTRICT COURT JUDGE
17

18
19

20

21

22

23

24

25

26

27

28
                                                         -2-
